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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND
                                     Greenbelt Division

Kilmar Armando Abrego Garcia, et al.,

                        Plaintiffs,

v.                                                     Case No.: 8:25-CV-00951-PX

Kristi Noem, et al.,

                        Defendants.


                                Declaration of Jonathan G. Cooper

       I, Jonathan G. Cooper, hereby declare as follows:

       1.      I am a partner at the law firm Quinn Emanuel Urquhart & Sullivan, LLP, and

represent Plaintiffs in this matter. I respectfully submit this Declaration in support of Plaintiffs’

Memorandum of Law Regarding Privilege Assertions.

       2.      Attached as Exhibit A is a true and correct copy of the transcript President Donald

Trump interviewed by ‘Meet the Press’ moderator Kristen Welker, NBC News, dated May 4, 2025,

available     at       https://www.nbcnews.com/politics/trump-administration/read-full-transcript-

president-donald-trump-interviewed-meet-press-mod-rcna203514.

       3.      Attached as Exhibit B is a true and correct copy of the article Trump says ‘I could’

get Abrego Garcia back from El Salvador, ABC News, dated April 29, 2025, available at

https://abcnews.go.com/Politics/trump-abrego-garcia-back-el-salvador/story?id=121298276.

       4.      Attached as Exhibit C is a true and correct copy of Murphy To Secretary Of

Homeland Security Kristi Noem: Your Department Is Out Of Control, Murphy.Senate.Gov, dated

May 8, 2025, https://www.murphy.senate.gov/newsroom/press-releases/murphy-to-secretary-of-

homeland-security-kristi-noem-your-department-is-out-of-control.



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        5.     Attached as Exhibit D is a true and correct copy of Rubio has been in touch with El

Salvador's Bukele about Abrego Garcia: Sources, ABC News, dated April 30, 2025,

https://abcnews.go.com/US/judge-denies-dojs-request-delay-discovery-abrego-

garcia/story?id=121323475.

        6.     Attached as Exhibit E is a true and correct copy of compilations from the depositions

of Evan Corey Katz, Robert L. Cerna, II, and Joseph N. Mazzara showing the instances in which

the Government’s counsel instructed the witness not to answer a question on the basis of state secret

privilege, deliberative process privilege, or both.

        7.     Attached as Exhibit F is a true and correct copy of the transcript of the deposition of

Evan Corey Katz in this matter, dated April 22, 2025.

        8.     Attached as Exhibit G is a true and correct copy of the transcript of the deposition

of Robert L. Cerna, II, in this matter, dated May 7, 2025.

        9.     Attached as Exhibit H is a true and correct copy of the transcript of the deposition

of Joseph N. Mazzara in this matter, dated April 22, 2025.

        10.    Attached as Exhibit I is a true and correct copy of Behind Trump’s Deal to Deport

Venezuelans to El Salvador’s Most Feared Prison, N.Y. Times, dated May 1, 2025, available at

https://www.nytimes.com/2025/04/30/us/politics/trump-deportations-venezuela-el-salvador.html.

        11.    Attached as Exhibit J is a true and correct copy of Bondi says mistakenly deported

man ‘not coming back to our country,’ The Hill, dated April 16, 2025, available at

https://thehill.com/homenews/administration/5251491-pam-bondi-kilmar-abrego-garcia-return/.

        12.    Attached as Exhibit K is a true and correct copy of The White House @WhiteHouse,

X.com          (Apr.         18,         2025,            10:42         am),       available        at

https://x.com/WhiteHouse/status/1913241658579440126/photo/1.




                                                      2
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        13.    Attached as Exhibit L is a true and correct copy of the transcript of Donald Trump’s

‘100    Days’ Interview     With   TIME,     TIME,    dated   April   25,    2025,   available   at

https://time.com/7280114/donald-trump-2025-interview-transcript/.

        14.    Attached as Exhibit M is a true and correct copy of Homeland Security, @DHSgov,

X.com (May 2, 2025, 7:13 am), available at https://x.com/DHSgov/status/1918262686665658450.

        15.    Attached as Exhibit N is a true and correct copy of Homeland Security, @DHSgov,

X.com (May 2, 2025, 7:25 am), available at https://x.com/DHSgov/status/1918265519414661237.

        16.    Attached as Exhibit O is a true and correct copy of Nayib Bukele, @nayibbukele,

X.com          (Feb.         3,        2025,         9:44         pm),          available        at

https://x.com/nayibbukele/status/1886606794614587573.

        17.    Attached as Exhibit P is a true and correct copy of the press release, Secretary of

State Marco Rubio and Salvadoran Foreign Minister Alexandra Hill Tinoco at the Signing of a

Memorandum of Understanding Concerning Strategic Civil Nuclear Cooperation, U.S.

Department of State, dated February 3, 2025, available at https://www.state.gov/secretary-of-state-

marco-rubio-and-salvadoran-foreign-minister-alexandra-hill-tinoco-at-the-signing-of-a-

memorandum-of-understanding-concerning-strategic-civil-nuclear-cooperation.

        18.    Attached as Exhibit Q is a true and correct copy of Secretary of State Marco Rubio

Remarks to the Press, U.S. Department of State, dated March 28, 2025, available at

https://www.state.gov/secretary-of-state-marco-rubio-remarks-to-the-press-3/.

        19.    Attached as Exhibit R is a true and correct copy of email correspondence produced

in this matter with Bates number beginning at KAAG-NOEM-0000001478.




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       I declare under penalty of perjury that the foregoing is true and correct. Executed on May

12, 2025, in Washington, D.C.



                                                   /s/ Jonathan G. Cooper
                                                   Jonathan G. Cooper




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                                 Exhibit List

No.                              Description                             Brief Cites
       Transcript of President Donald Trump interviewed by ‘Meet
A      the Press’ moderator Kristen Welker, NBC News, dated May             1, 19
       4, 2025
       Trump says ‘I could’ get Abrego Garcia back from El
B                                                                           1, 18
       Salvador, ABC News, dated April 29, 2025
       Murphy To Secretary Of Homeland Security Kristi Noem: Your
C      Department Is Out Of Control, Murphy.Senate.Gov, dated             1, 16, 19
       May 8, 2025
       Rubio has been in touch with El Salvador's Bukele about
D                                                                             2
       Abrego Garcia: Sources, ABC News, dated April 30, 2025
       Compilation of Privilege Assertions by Government
E                                                                             5
       Witnesses (SEALED)
       Transcript of Deposition of Evan C. Katz, dated April 22,
F                                                                            5, 6
       2025 (SEALED)
       Transcript of Deposition of Robert L. Cerna, dated May 7,
G                                                                          5, 6, 7
       2025 (SEALED)
       Transcript of Deposition of Joseph N. Mazzara, dated May 7,
H                                                                             5
       2025 (SEALED)
       Behind Trump’s Deal to Deport Venezuelans to El Salvador’s
 I                                                                           15
       Most Feared Prison, N.Y. Times, dated May 1, 2025
       Bondi says mistakenly deported man ‘not coming back to our
 J                                                                           17
       country,’ The Hill, dated April 16, 2025
       The White House @WhiteHouse, X.com (Apr. 18, 2025,
K                                                                            17
       10:42 am)
       Transcript of Donald Trump’s ‘100 Days’ Interview With
L                                                                            18
       TIME, TIME, dated April 25, 2025
       Homeland Security, @DHSgov, X.com (May 2, 2025, 7:13
M                                                                            19
       am)
       Homeland Security, @DHSgov, X.com (May 2, 2025, 7:25
N                                                                            19
       am)
O      Nayib Bukele, @nayibbukele, X.com (Feb. 3, 2025, 9:44 pm)             20
       Press release, Secretary of State Marco Rubio and Salvadoran
       Foreign Minister Alexandra Hill Tinoco at the Signing of a
P      Memorandum of Understanding Concerning Strategic Civil                20
       Nuclear Cooperation, U.S. Department of State, dated
       February 3, 2025
       Secretary of State Marco Rubio Remarks to the Press, U.S.
Q                                                                            20
       Department of State, dated March 28, 2025
R      KAAG-NOEM-0000001478 (SEALED)                                         23




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